 

CaSe 5:15-cr-00114-cr Document 155 Filed 12/13/16 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF VERMONT

 

UNITED STATES OF AMERICA,

 

V.

DORSEY HUNT, aka “Jah,” Case No. 5:15-cr-114 ~ l""l' 5 " b

FELICIA LIVINGSTON, aka “Snoop,”

MICHAEL BROCKENBAUGH, aka “JD,”

and MAURICE NIX, aka “l\/[Oe,”
Defendants.

 

 

THIRD SUPERSEDING INDICTMENT

The Grand Jury charges as follows:

Between in or about 2013 and in or about September 2015, in the District of
Vermont and elsewhere, the defendants, DORSEY HUNT, aka “Jah,” FELICIA
LIVINGSTON, aka “Snoop,” MICHAEL BROCKENBAUGH, aka “JD,” and l\/laurice

l NiX, aka “l\/[oe,” knowingly and willfully conspired with each other, Michael x
Villanueva, aka “Unc,” and others known and unknown to the grand jury, to
distribute heroin, a Schedule I controlled substance, and cocaine base, a Schedule II
controlled substance.

The conduct of defendants DORSEY HUNT, aka “Jah,” and FELICIA
LIVINGSTON, aka “Snoop,” as members of the conspiracy,-including the reasonably
foreseeable conduct of other members of the conspiracy, involved 100 grams or more
of a mixture or substance containing a detectable amount of heroin and 28 grams or

more of a mixture or substance containing a detectable amount of cocaine base.

(21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(B))

Case 5:15-cr-00114-cr Document 155 Filed 12/13/16 Page 2 of 2

The conduct of defendant MICHAEL BROCKENBAUGH, aka “JD,” as a
member of the conspiracy, including the reasonably foreseeable conduct of other
members of the conspiracy, involved a kilogram or more of a mixture or substance
containing a detectable amount of heroin and 280 grams or more of a mixture or

substance containing a detectable amount of cocaine base.

(21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A))

A TRUE BILL

    

ERIC S. MILLER
United States Attorney

Presented by:

K`UNAL PASRICHA
Assistant United States Attorney

Burlington, Vermont
December 13, 2016

